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April 10, 2019

VIA ECF

Hon. Debra Freeman
United States Magistrate Judge
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, New York 10007

Re:    De La Cruz et al. v. Trejo Liquors, Inc. et al., 16 CV 4382

Dear Judge Freeman:

We represent Plaintiffs Paulino De La Cruz and Juventino Ramos in the above-referenced
action against Defendants Trejo Liquors, Inc. d/b/a Trejo Liquors and Wines, and Johanny
Trejo.

We write to inquire as to the status of this action. On January 7, 2019, the Court ordered
Defendants to submit to the Court their responses to the damages calculations and the fee
application that are set out in Plaintiffs’ motion for default judgment or request a hearing by
February 6, 2019 (Docket No: 89). Plaintiffs served copies of this order on Defendants (Docket
Nos: 90, 91). Defendants have neither submitted their responses nor requested a hearing. As
such, the Court should proceed to issue a report and recommendation concerning damages on
the basis of Plaintiffs’ written submissions alone, as stated in the January 7, 2019 Order.

Plaintiffs have litigated this case for almost three years and are eager for resolution. Thank
you for Your Honor’s time and attention to this matter.

Respectfully submitted,



Edgar M. Rivera, Esq.

cc:    All Counsel of Record (via ECF)
